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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF SOUTH CAROLINA
                                  FLORENCE DIVISION

 CHALPIN REALTY SC, LLC,                     )             Civil Action No: 4:22-cv-02651-JD
                                             )
                                             )
                Plaintiff,                   )
                                             )              JERSAM REALTY, INC.’S
                vs.                          )            RESPONSE IN OPPOSITION TO
                                             )             PLAINTIFF’S MOTION FOR
 JERSAM REALTY, INC.,                        )               SUMMARY JUDGMENT
                                             )
               Defendant.                    )

       Pursuant to Local Rule 7.06, Counterclaimant/Defendant, Jersam Realty, Inc. submits this

Response in Opposition to Plaintiff’s Motion for Summary Judgment and Memorandum in Support

(Dkt. Nos. 16 and 18) (“Motion for Summary Judgment”). In accordance with the Court’s Consent

Scheduling Order (Dkt. No. 15), Counterclaimant/Defendant, Jersam Realty, Inc. (“Buyer”) filed a

cross Motion for Summary Judgment and Memorandum in Support (Dkt. No. 17-1).

Counterclaimant/Defendant, incorporates by reference its Memorandum in Support of Summary

Judgment (Dkt. No. 17-1), which addresses the factual background/procedural history and addresses

many of the issues raised in Plaintiff’s Motion for Summary Judgment. For the reasons set forth

herein and in Counterclaimant/Defendant’s Memorandum in Support of Summary Judgement (Dkt.

No. 17-1), Plaintiff’s Motion for Summary Judgment should be denied.

                                         INTRODUCTION

       This case involves a real estate contract (“Contract”) for the sale of 1410 North Ocean

Boulevard, Myrtle Beach, South Carolina (“Property”). The Property was marketed for sale as a

multi-tenant retail project, with the Property to be sold along with the tenants and leases in place.

       While Plaintiff’s Motion for Summary Judgment is filled with many irrelevant and

unnecessary facts in an attempt to muddy the water and mislead the Court, this Case centers on the



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Contract’s bring-down provision, which states, “[t]he representations and warranties of Seller set

forth in this Section 4 are made as of the date of this Contract and are and shall be restated as of

the Closing Date.” (Dkt. No. 1-1, Contract, at p. 11 of 62) (emphasis added).

        “A bring down is a provision requiring the representations and warranties that were made at

signing to be made again on the closing date.” Item 4-382-3286 (Westlaw Practical Law Glossary,

2022), https://us.practicallaw.thomsonreuters.com/4-382-3286; see also Bring-down Provision,

Black's Law Dictionary (11th ed. 2019) (“A “bring-down provision” is defined as “[a] contractual

covenant that all of a party's representations and warranties were true when the contract was executed

and will be true on the closing date.”). 1 “‘[R]epresentations and warranties are statements of fact as

of   the date of   the   execution   of   the   acquisition    agreement,    and    the truthfulness     of

the representations and warranties as of both the date of execution and [] the date of the closing is

generally a condition to the closing.’” W. Filter Corp. v. Argan, Inc., 540 F.3d 947, 952 (9th Cir.

2008) (quoting Samuel C. Thompson, Jr., Business Planning for Mergers and Acquisitions 780

(Carolina Academic Press 2001) (1997). “In other words, the representations and warranties serve as

a safety net for the seller and buyer.” Id. “If, prior to closing, either the seller or buyer discovers that

a representation or warranty made by the other party is not true, they have grounds for backing out of

the deal.” Id.

        Here, the controlling sentence in the Contract that Plaintiff Chalpin Realty, SC, LLC (“Seller”)

breached is contained in the last sentence of Section 4 and states:




1
 A bring down provision can be automatic or it can provide for a separate certificate to be delivered
at closing. The contract at issue did not require a separate certificate to be delivered at closing and
instead provided for the restatement of the representations and warranties to be automatic. (Dkt. No.
1-1, Contract, Section 4) (“are and shall be restated as of the closing date”).

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(Dkt. No. 1-1, Contract, at p. 11 of 62). In Section 4 of the Contract, entitled “Representations of

Seller,” Plaintiff as Seller “represent[ed] and covenant[ed]” to Buyer regarding the status of Plaintiff’s

leases and tenants. Id. at p. 8 of 62. Plaintiff as Seller agreed that the Representations of Seller “shall

be restated as of the Closing Date,” which the parties agreed to schedule on June 16, 2022. Id. at p.

11 of 62; Dkt. No 1, Complaint at ¶ 43. Specifically, in Section 4.02(b) of the Contract, Plaintiff

represented that “all of the Leases are in full force and effect.” (Dkt. No. 1-1, Contract, at p. 8 of 62).

In Section 4.02(k) of the Contract, Plaintiff represented that “to Seller’s actual knowledge, no tenant

who is in actual possession as of the Effective Date under any Lease is in breach of any of its

obligations under said Lease, and there exists no conditions which, with the giving of notice or the

passage of time would constitute a breach by any tenant of its obligations under any Lease.” Id. at p.

9 of 62.

       On June 14, 2022, two days before the June 16, 2022 closing date, Plaintiff’s counsel sent an

email to counsel for the Buyer indicating that Epic Arcades SC, LLC 2 (“Tenant Arcade”) (who was

in actual possession as of the Effective Date of the Contract) had failed to pay rent for June 2022.

Later that morning, Plaintiff’s counsel sent another email to counsel for Buyer, which is attached as

Exhibit A to Buyer’s Counterclaim (Dkt. No. 7-1), informing Buyer that Tenant Arcade was vacating

the premises. When Plaintiff’s counsel forwarded the email regarding Tenant Arcade’s failure to pay

rent and abandonment of the premises, he acknowledged that “my client can no longer restate the

representations of Section 4.02 as it pertains to the Arcade as they have failed to pay June, 2022 Rent

or Additional Rent and now appear to be abandoning/surrendering the premises.” (Dkt. No. 7-1, Email



2
 Tenant Arcade was one of Seller’s two largest tenants. Specifically, as evidenced by Schedule E to
the Contract, Tenant Arcade’s rent made up 32.52%, or over a third, of the $93,285.33 in monthly
rents. The next largest tenant’s rent was $16,083.75, with the rents of the remaining 3 tenants
decreasing dramatically and ultimately down to $800.00 per month (Dkt. No. 1-1, Contract, Schedule
E, p. 53 of 62).


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from Plaintiff’s Counsel). By Plaintiff counsel’s own admission, Plaintiff could not fulfill its

obligations under the Contract where Plaintiff agreed that “[t]he representations and warranties of

Seller set forth in this Section 4 are made as of the date of this Contract and are and shall be restated

as of the Closing Date.” (Dkt. No. 1-1, Contract, at p. 11 of 62) (emphasis added). Additionally, in

Plaintiff counsel’s June 14, 2022 email (Dkt. No. 7-1), counsel attached a document, which further

acknowledged his client could not restate the representations and warranties contained in Section 4

of the Contract as of the closing date.3 The attachment to Plaintiff’s email (Exh. A), stated the

following:

          Seller hereby affirms that such Seller’s representations and warranties as set forth in the
          Contract of Sale and Agreement remain true and correct in all material respects on the date
          hereof except that Epic Arcades SC LLC has not paid Rent or Additional Rent for
          June, 2022 and, upon information and belief, is surrendering and abandoning the
          Premises as of June 14, 2022.

(Exh. A) (emphasis added). Thus, Plaintiff’s counsel’s email and the attachment thereto both clearly

demonstrate that Plaintiff was required to restate the representations and warranties made in Section

4 of the Contract as of the closing date, but Plaintiff was not able to do so in breach of the Contract.

          Despite Plaintiff counsel’s own admissions, Plaintiff now argues that its representations and

warranties need only be true as of the “Effective Date,” May 13, 2022, which is the date the Contract

was signed. (Dkt. No. 18, Pltf. Memo in Supp., at p. 4) (“Plaintiff’s obligation was to restate its

representations to the Defendants when made on the Effective date”). While Plaintiff’s Motion for

Summary Judgment contains a variety of jumbled and misleading arguments, the arguments all have

one common flaw – Plaintiff’s construction of the Contract’s bring down provision renders the “as of

the closing date” language meaningless. This flawed construction has been rejected by another Court

because this reading of the bring down provision would render the “as of the closing date” language



3
    The attachment to the June 14, 2022 email (Dkt. No. 7-1) is attached hereto as Exhibit A.

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a “nullity,” and “Delaware law rejects interpretations of contracts that render provisions null and

void.” Dermatology Assocs. of San Antonio v. Oliver St. Dermatology Mgmt. LLC, No. CV 2017-

0665-KSJM, 2020 WL 4581674, at *29 (Del. Ch. Aug. 10, 2020) (construing a bring down provision

and rejecting the same argument Plaintiff makes here). Here, Plaintiff’s construction of the bring-

down provision would also render the subject Contract’s “as of the closing date” language a nullity,

and under South Carolina law, which governs the construction of this Contract, “an interpretation that

gives meaning to all parts of the contract is preferable to one which renders provisions in the contract

meaningless or superfluous.” Stevens Aviation, Inc. v. DynCorp Int'l LLC, 407 S.C. 407, 417, 756

S.E.2d 148, 153 (2014); see also Mears Grp., Inc. v. Kiawah Island Util., Inc., 372 F. Supp. 3d 363,

373 (D.S.C. 2019) (“Additional principles of South Carolina contract interpretation dictate

that contracts will be interpreted so as to give effect to all of their provisions, if practical.”). In

Dermatology Assocs., the Court also correctly noted that “Plaintiffs’ reading of the Bring-down

Provision undermines the well-understood function of that condition, which is to ‘protect[ ] each party

from the other’s business changing or additional, unforeseen risks arising prior to closing.’”

Dermatology Assocs., 2020 WL 4581674, at *29 (quoting Lou R. Kling, Eileen T. Nugent & Brandon

A. Van Dyke, Negotiated Acquisitions of Companies, Subsidiaries and Divisions § 14.02[1], at 14-9

(2020 ed.)). “If the Bring-down Provision need only be true as of the signing, then it would not achieve

its purpose of protecting against business changes that arise between the signing and closing.” Id.;

see also W. Filter Corp., 540 F.3d at, 952 (“If, prior to closing, either the seller or buyer discovers

that a representation or warranty made by the other party is not true, they have grounds for backing

out of the deal.”).

        In fact, Plaintiff, as the purchaser of the Property, has separate litigation against the original

seller and seeks to rescind the original purchase and sale agreement (“PSA”) associated with the

Property by alleging that the original seller breached the representations and warranties pertaining to


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the tenant leases, that “Chalpin Realty relied on the PSA’s provisions pertaining to the tenant leases,

including [the seller’s] representations and warranties,” and that “[t]hese provisions were material to

that decision to enter into the PSA.” Chalpin Realty SC, LLC v. Patrick Marino, et al., Complaint, at

¶¶ 86, 191, and 193, filed September 22, 2020, Civil Action No. 2020-CP-26-05510, Court of

Common Pleas, State of South Carolina, County of Horry. Plaintiff can’t have it both ways.

                                            ARGUMENT

       Plaintiff’s Motion for Summary Judgment misstates and mischaracterizes the language of the

Contract, case law, and general principals applicable to real estate law in an effort to mislead the

Court. Despite Plaintiff’s shotgun approach and variety of jumbled arguments, all of Plaintiff’s

arguments have one common flaw – they render the bring down provision’s “as of the closing date”

language meaningless.

        Plaintiff’s construction is also illogical. Under Plaintiff’s construction of the Contract, every

single tenant in place at the time the Contract was signed could have stopped paying rent and vacated

the premises before closing, and Buyer would still be required to close – despite Plaintiff’s

representations and warranties regarding the leases and tenants.

       I. Plaintiff misrepresents the Contract language by employing selective quoting
       in an effort to mislead the Court.

       Because the Contract’s plain language does not support Plaintiff’s construction of the

Contract, Plaintiff has resorted to selective quoting and misrepresentation. Plaintiff argues that it

“was not obligated to make any representation [sic] warranty or guaranty regarding the status of the

leases and tenancies at closing” (Point I(B) of Plaintiff’s Memo. in Support) and that “Defendant

agreed to assume all risks associated with the leases and tenancies after due diligence and until

closing” (Point I(C) of Plaintiff’s Memo. in Support). To support these arguments, Plaintiff relies on

Section 5.01(b)(v) of the Contract. Specifically, Plaintiff’s Memorandum in Support of Summary

Judgment states the following:

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(Dkt. No. 18, Pltf. Memo in Support, pp. 10, 15). Plaintiff’s memo then states that this “leads to the

inevitable conclusion4 that Defendant agreed to bear all the risk with respect to the Leases and

Tenancies.” Id. at pp. 10-11. However, Section 5.01(b)(v) does not say what Plaintiff has selectively

quoted, and Plaintiff left off important and controlling language such as the first, operative part of the

sentence, “Except as expressly provided in this Contract . . .” Pursuant to the undersigned’s duty of

candor towards the Court, Section 5.01(b) is depicted below to prevent Plaintiff’s attempts to deceive

the Court:




4
    The only inevitable conclusion is that Plaintiff blatantly attempted to mislead the Court.

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(Dkt. No. 1-1, Contract, Section 5.01(b)). A plain reading of this provision demonstrates that Section

5.01(b) does not say what Plaintiff represented. The “[e]xcept as expressly provided in this Contract”

language, which Plaintiff failed to mention to the Court, eviscerates Plaintiff’s primary arguments.

The Contract expressly provided Seller’s representations and warranties regarding the leases and

tenancies. Specifically, in Section 4 of the Contract, entitled “Representations of Seller,” Plaintiff as

Seller “represent[ed] and covenant[ed]” to Buyer regarding the status of Plaintiff’s leases and tenants.

Id. at p. 8 of 62. Plaintiff as Seller agreed that the Representations of Seller “are and shall be restated

as of the Closing Date,” which the parties agreed to schedule on June 16, 2022. Id. at p. 11 of 62;

Dkt. No 1, Complaint at ¶ 43. Specifically, in Section 4.02(b) of the Contract, Plaintiff represented

that “all of the Leases are in full force and effect.” (Dkt. No. 1-1, Contract, at p. 8 of 62). In Section

4.02(k) of the Contract, Plaintiff represented that “to Seller’s actual knowledge, no tenant who is in

actual possession as of the Effective Date under any Lease is in breach of any of its obligations under

said Lease, and there exists no conditions which, with the giving of notice or the passage of time

would constitute a breach by any tenant of its obligations under any Lease.” Id. at p. 9 of 62.

Importantly, the Contract expressly provided:




(Dkt. No. 1-1, Contract, at p. 11 of 62). Plaintiff also argues that because due diligence had been

completed as of the June 7, 2022 Reinstatement (Dkt. No. 18-9), it was no longer required to restate

the representations and warranties contained in Section 4 “as of the closing date.” This is simply

incorrect based on Paragraph 7 of the Reinstatement, which states “All other Provisions of the

Purchase and Sale Agreement remain in full force and effect.” (Reinstatement, Dkt. No. 18-9).

Importantly, the Contract does not state that the representations and warranties of Seller set forth in


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Section 4 are made as of the date of the contract and are and shall be restated as of the end of due

diligence – it states “as of the closing date.”5

        Plaintiff asks this Court to be swayed by its selective quoting, ignore the “as of the closing

date” language, and disregard “the well-understood function of [the bring down provision], which is

to ‘protect[ ] each party from the other’s business changing or additional, unforeseen risks arising

prior to closing.’” Dermatology Assocs., 2020 WL 4581674, at *29 (quoting Lou R. Kling, Eileen T.

Nugent & Brandon A. Van Dyke, Negotiated Acquisitions of Companies, Subsidiaries and

Divisions § 14.02[1], at 14-9 (2020 ed.)). This Court should not be fooled by Plaintiff’s selective

quoting.

        II. Plaintiff mischaracterizes case law in an effort to mislead the Court.

        In addition to Plaintiff’s improper selective quoting of the Contract, Plaintiff also

mischaracterizes case law in an effort to mislead the Court. Plaintiff cites to McMaster v. Strickland,

305 S.C. 527, 409 S.E.2d 440 (Ct. App. 1991), and claims the case “bears a strikingly similarity to

the facts here.” (Dkt. No. 18, Pltf. Memo in Supp., at p. 18). Plaintiff argues “[a]s in McMaster, the

Defendant assumed a risk that in retrospect it may now which is had not under taken.” Id. at p 19.

However, McMaster is clearly distinguishable for several reasons, including the fact that the purchase

agreement at play in McMaster stated the following:




5
 While Plaintiff’s construction lacks merit and is inconsistent with the language of the Contract, even
if the Contract stated “as of the end of due diligence” as opposed to what it actually says, “as of the
closing date,” Section 9.05 of the Contract also required Plaintiff to “promptly give written notice to
Purchaser of the occurrence of any event when known to Seller affects the truth or accuracy of any
representations or warranties made or to be made by Seller under or pursuant to this Contract or
amounts to any material change in any condition with respect to the Premises.” (Dkt. No. 1-1,
Contract, at p. 17 of 62). Plaintiff failed to comply with this provision by waiting 13 days to notify
Buyer that Tenant Arcade had failed to pay its rent for the month of June, 2022, which was due on
June 1, 2022. At the time of Tenant Arcade’s failure to pay rent, due diligence had not yet expired.
Conveniently, Seller elected to wait until after due diligence expired before notifying Buyer. Thus,
even if the Contract was worded differently, Plaintiff’s argument would fail.

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       Purchaser represents and warrants that Purchaser has not relied upon any
       representations by Sellers as to the premises. Purchaser further agrees to accept the
       real property set forth herein in an “as is” condition.

McMaster, 305 S.C. at 529, 409 S.E.2d at 441. Notably, the buyer in McMaster did not require

representations and warranties as to the condition of the property in its underlying contract for

purchase and sale, and the Court noted that “the purchaser admitted he simply made a mistake by

signing a contract without certain conditions to protect him in the event he could not obtain the

necessary permits.” Id. at 531, 409 S.E.2d at 442. However, in the present situation, Defendant

specifically negotiated for contractual conditions to protect it in the form of the representations and

warranties of Seller, which “are and shall be restated as of the Closing Date.” (Dkt. No. 1-1, Contract,

Section 4). Thus, McMaster does not “bear a strikingly similarity to the facts here” as Plaintiff claims.

       III. Plaintiff mischaracterizes and misstates general principals applicable to real
       estate law in an effort to mislead the Court.

       Plaintiff’s Memo repeats ad nauseam that the leases were deemed “permitted exceptions” to

title under the terms of the Contract. At least as to this point, Plaintiff is accurate. Defendant, had it

closed on the Property, would have been required to (and desired to) take title to such property subject

to the leases and tenancies then in place, and those leases would have been assigned to and assumed

by Defendant at the closing. Defendant would have had no right to unilaterally terminate those leases

by virtue of Defendant’s acquisition of the property.

       A permitted exception is a term of art in the real estate industry that generally applies to

marketable title. “In a purchase and sale agreement, the seller typically agrees to deliver and the

purchaser agrees to accept clean title to real property subject to specific permitted exceptions.”

“Permitted     Exception,”      Item      w-017-1724       (Westlaw Practical Law Glossary,         2023),

https://us.practicallaw.thomsonreuters.com/w-017-1724. “To be marketable, a title need not be

flawless. . . . [i]t is a title which a reasonable purchaser, well-informed as to the facts and their legal



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significance, is ready and willing to accept.” Gibbs v. G.K.H., Inc., 311 S.C. 103, 105, 427 S.E.2d

701, 702 (Ct. App. 1993). A review of the Contract reveals that the term Permitted Exceptions is used

with that meaning and intent. For example, Sections 1.02, 4.01, 10.01(a), and 13.01 of the Contract

all include the term “Permitted Exception,” and all relate to title.

       However, Plaintiff’s reliance on the permitted exceptions are simply not relevant to this

matter, as marketable title is not the issue at hand. The issue at hand is Plaintiff’s breach of its

representations and warranties contained in Section 4 of the Contract. Specifically, Plaintiff’s

assertion, though convoluted, seems to imply that by virtue of such leases being “permitted

exceptions” to title, any representations and warranties of Plaintiff (as seller) in the Contract were

meaningless. This is contrary to the “as of the closing date” language in the Contract, contrary to the

well understood function of representations and warranties, and contrary to the well understood

function    of    a   bring    down      provision.        W.     Filter   Corp.,   540   F.3d   at    952

(“‘representations and warranties are statements of fact as of the date of the execution of the

acquisition agreement, and the truthfulness of the representations and warranties as of both

the date of execution and [] the date of the closing is generally a condition to the closing . . . In other

words, the representations and warranties serve as a safety net for the seller and buyer,” and “[i]f prior

to closing, either the seller or buyer discovers that a representation or warranty made by the other

party is not true, they have grounds for backing out of the deal.”); see also Dermatology Assocs., 2020

WL 4581674, at *29 (“the well-understood function of [a bring down provision] is to ‘protect[ ] each

party from the other’s business changing or additional, unforeseen risks arising prior to closing . . .

its purpose [is] protecting against business changes that arise between the signing and closing.”

       Plaintiff’s assertion is further undercut by Plaintiff’s counsel’s email (Dkt. No. 7-1) and its

attachment (Exh. A) regarding Tenant Arcade’s defaults – if Plaintiff’s theory was correct, it does not

make sense that Plaintiff’s counsel would have sent the email and its attachment. (Dkt. No. 7-1, Email


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from Plaintiff’s Counsel) (“my client can no longer restate the representations of Section 4.02 as it

pertains to the Arcade as they have failed to pay June, 2022 Rent or Additional Rent and now appear

to be abandoning/surrendering the premises.”) Thus, this Court should not be misled by Plaintiff’s

mischaracterization of well understood principals applicable to real estate law.

       IV. Buyer properly terminated the Contract because Plaintiff could not meet its
       obligation to restate the representations and warranties made in Section 4 of the
       Contract “as of the closing date.”

       By its own admission, Seller defaulted under the Contract because it could no longer restate

the representations and warranties of Section 4 as it pertained to Tenant Arcade, which failed to pay

June, 2022 Rent and Additional Rent and abandoned the premises. (Dkt. No. 7-1, Email from

Plaintiff’s Counsel). Defaults by Seller under the Contract are governed by Section 13.04, which reads

as follows:




(Dkt. No. 1-1, Contract, at p. 24 of 62).

       Plaintiff, as Seller, was in default because it could no longer restate the representations and

warranties of Section 4 as it pertained to Tenant Arcade, which failed to pay June, 2022 Rent and

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Additional Rent and abandoned the premises. As is evidenced by Schedule E to the Contract, these

were not immaterial breaches/defaults. Tenant Arcade was one of Seller’s two largest tenants, and

Tenant Arcade’s failure to pay its rent and abandonment of Seller’s premises on the eve of closing

created a considerable loss of revenue that went to the heart of the economics of the deal. Specifically,

as evidenced by Schedule E to the Contract, Tenant Arcade’s rent made up 32.52%, or over a third,

of the $93,285.33 in monthly rents. The next largest tenant’s rent was $16,083.75, with the rents of

the remaining 3 tenants decreasing dramatically and ultimately down to $800.00 per month (Dkt. No.

1-1, Contract, Schedule E, p. 53 of 62). Thus, this was not an immaterial breach/default. 6

       As such, on June 15, 2022, Buyer sent a Notice of Default and requested that Seller cure its

defaults under the Contract prior to closing. Plaintiff mischaracterizes the initial Notice of Default as

a “Termination Notice.” (Dkt. No. 18, Pltf. Memo in Supp., at p. 12). The Notice of Default was

attached as Exhibit B to Buyer’s Counterclaim. (Dkt. No. 7-2, Notice of Default).

       Following Plaintiff’s failure to cure its default by the deadlines set forth for cure in Section

13.04 of the Contract, Buyer then sent a Notice of Termination on June 22, 2022, which was attached

as Exhibit C to Buyer’s Counterclaim. (Dkt. No. 7-3, Notice of Termination). (Dkt. No. 18, Pltf.

Memo in Supp., at p. 20). Plaintiff claims Defendant did not allow Plaintiff “a reasonable amount of

time to cure.” This is incorrect. Section 13.04 of the Contract, depicted above, allowed Plaintiff to


6
 Importantly, the bring down provision in this case did not have a materiality qualifier. (Dkt. No. 1-
1, Contract, at p. 11 of 62) (“[t]he representations and warranties of Seller set forth in this Section 4
are made as of the date of this Contract and are and shall be restated as of the Closing Date.”). A seller
can protect itself from immaterial changes concerning representations and warranties by including a
materiality qualifier. See e.g., Dermatology Assocs., 2020 WL 4581674, at *9 (requiring that the
representations and warranties be restated “in all material respects as of the Closing Date”). Here, the
Seller did not require a materiality qualifier in the bring down provision. However, even if it did,
Tenant Arcade’s failure to pay rent and abandonment of Seller’s premises had a material financial
impact to the deal as Tenant Arcade’s rent made up 32.52%, or over a third, of the $93,285.33 in
monthly rents. Importantly, under South Carolina law, the breach of a warranty does not require
materiality. Nix v. Sovereign Camp, W. O. W., 180 S.C. 153, 185 S.E. 175, 177 (1936). (“construed
as a warranty, the falsity of the statement amounts to an express breach of the contract, regardless of
the good faith and honest purpose . . . and the statement does not have to be material.”).

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cure within the earlier of 5 days or the closing date, which was June 16, 2022. It is undisputed that

Seller failed to cure its default prior to closing; indeed, it refused to cure based on its construction of

the Contract. Bank of New York Mellon Tr. Co., Nat. Ass'n v. Morgan Stanley Mortg. Cap., Inc., No.

11 CIV. 0505 CM GWG, 2013 WL 3146824, at *13 (S.D.N.Y. June 19, 2013) (“Obviously, since

the representation and warranty had been breached . . . there was no way to cure it.”); see also

Dermatology Assocs., 2020 WL 4581674, at *29 (“Plaintiffs could not possibly have satisfied the

Bring-down Provision at Closing.”).

                                            CONCLUSION

       Based on the foregoing, Counterclaimant/Defendant, Jersam Realty, Inc. respectfully requests

that the Court deny Plaintiff’s Motion for Summary Judgment and issue an Order granting Jersam

summary judgment on its Counterclaims, awarding the relief sought therein, and dismissing

Plaintiff’s Complaint. Specifically, Jersam Realty, Inc. respectfully requests that the Court rule as a

matter of law that (1) Defendant/Buyer properly terminated the Contract because Plaintiff, Chalpin

Realty, SC, LLC, could not meet its obligation to restate the representations and warranties made in

Section 4 of the Contract “as of the closing date” (June 16, 2022) due to one of Plaintiff/Seller’s

tenants failing to pay rent and the tenant’s abandonment of Plaintiff/Seller’s premises; and (2) as a

result and pursuant to the Contract, Defendant/Buyer is entitled to the return of its $1,000,000.00

Downpayment (plus Plaintiff’s payment of statutory interest of 7.25% from June 23, 2022),

$20,000.00 in Actual Costs Incurred prior to the scheduled closing, and all litigation expenses,

including actual attorney’s fees and court costs incurred in this action. In the event the Court rules in

favor of Counterclaimant/Defendant, Jersam Realty, Inc., it respectfully requests leave of Court to

submit an affidavit addressing the Actual Costs Incurred, its litigation expenses (including actual

attorney’s fees and court costs incurred in this action), and a statutory interest calculation for the

Court’s consideration.


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                                     Respectfully Submitted,


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January 27, 2022




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